          Case 3:20-cv-06138-BHS Document 11-2 Filed 05/06/21 Page 1 of 2




1                                                                 HON. BENJAMIN H. SETTLE

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7                            UNITED STATES DISTRICT COURT
                            WESTERN DIVISION OF WASHINGTON
8                                     AT TACOMA
9                                                      )
                                                       )
10 CHERYL SANLIN,                                      )    NO. 3:20-cv-6138 BHS
                                                       )
11                                        Plaintiff,
                                                       )   DECLARATION OF DONNA L. MACK
12         v.                                          )
                                                       )
13 CENTRAL KITSAP SCHOOL DISTRICT, a                   )
   Washington Corporation,                             )
14                                                     )
   Defendant.                                          )
15                                                     )
                                                       )
16                                                     )
17
     Donna L. Mack, under penalty of perjury of the laws of the State of Washginton, hereby
18
     declares and certifies as follows:
19
        1. I am one of the attorneys for the plaintiff in this matter. I am over the age of 18 and
20
            competent to testify to the facts herein. I make this declaration from personal
21
            knowledge.
22
        2. As of today’s date, the Plaintiff, as far as I know, has not obtained new
23

24          representation in this matter.

25                                                               EMERALD LAW GROUP, PLLC
     DECLARATION OF DONNA L. MACK
                                                                   811 FIRST AVE., SUITE 510
     PAGE 1 OF 2                                                      SEATTLE, WA 98104
     CASE NO. 3:20-cv-6183 BHS                                         TEL: (206) 826-5160
                                                                       FAX: (206) 922-5598
          Case 3:20-cv-06138-BHS Document 11-2 Filed 05/06/21 Page 2 of 2




1       3. The plaintiff’s address is 5632 Wisteria Lane, Bremerton, WA 98311, and the

2           plaintiff’s telephone number is 360-908-4129.
3        EXECUTED in Seattle, Washington this 6th day of May, 2021.
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5                                                 ___________________________
                                                  Donna L. Mack
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11
     CERTIFICATION:
12
     I certify under penalty of perjury under the laws of
13   the State of Washington, that on this date I served
     via e -service a copy of the document to which this
14   certificate is attached, on Michael McFarland, Esq.

15   Dated: 05/06/2021

16
      /s/ Donna L. Mack
17   Donna Mack
18

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25                                                           EMERALD LAW GROUP, PLLC
     DECLARATION OF DONNA L. MACK
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     PAGE 2 OF 2                                                  SEATTLE, WA 98104
     CASE NO. 3:20-cv-6183 BHS                                     TEL: (206) 826-5160
                                                                   FAX: (206) 922-5598
